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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


JO LYNN WILSON                                        :
                                                      :
         Plaintiff                                    :               CIVIL ACTION NO.:
                                                      :               3:15-CV-00207-MPS
vs.                                                   :
                                                      :
YALE UNIVERSITY                                       :
                                                      :
         Defendant                                    :               OCTOBER 19, 2015

                                            ANSWER

         The defendant hereby answers the plaintiff’s Amended Complaint dated March 4,

2015.

         1.      The defendant denies that it discriminated against the plaintiff based on her

disability and refused to provide her a reasonable accommodation. The remaining allegations

contained in Paragraph 1 describe the plaintiff’s claims and no response is required.

         2.      The allegations contained in Paragraph 2 are jurisdictional and no response is

required.

         3.      The defendant admits that the plaintiff was an adult citizen of the United States

residing in New Haven, Connecticut and that she was able to perform the essential functions of

her job. The defendant denies that it was aware of the plaintiff’s alleged disability. The

defendant denies knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 3 and leaves the plaintiff to her proof.

         4.      Paragraph 4 is admitted.
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         5.     The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 5 and therefore leaves the plaintiff to her

proof.

         6.     Paragraph 6 is admitted.

         7.     The allegations contained in Paragraph 7 are denied, except that defendant

admits that the plaintiff performed her duties in a satisfactory manner when she was present at

work.

         8.     Paragraph 8 is denied.

         9.     The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 9 and therefore leaves the plaintiff to her

proof.

         10.    The defendant denies knowledge or information sufficient to form a belief as to

the truth of the allegation that the plaintiff reported to her cardiologist. The defendant denies

the remaining allegations contained in Paragraph 10.

         11.    Paragraph 11 is admitted, except that it is denied that the plaintiff provided the

password as requested.

         12.    The defendant admits that it terminated the plaintiff’s employment on April 11,

2012. The defendant denies the remaining allegations contained in Paragraph 12.

         13.    Paragraph 13 is admitted.

         14-15. Paragraphs 14 and 15 are denied.




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                                     SPECIAL DEFENSE

       The plaintiff’s disability discrimination claim brought under the Americans with

Disabilities Act is barred by the statute of limitations because the plaintiff failed to exhaust her

administrative remedies by failing to allege that she was discriminated against on the basis of a

disability when she pursued her discrimination complaint with the Commission of Human

Rights and Opportunities.




                                                       THE DEFENDANT
                                                       YALE UNIVERSITY


                                                  BY:___/s/ Colleen Noonan Davis (#ct27773)
                                                     Patrick M. Noonan (#ct00189)
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                                     CERTIFICATION

         I hereby certify that, on the above-written date, a copy of the foregoing Answer was
filed electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the court’s CM/ECF System.


                                                    _______________/s/________________
                                                     Colleen Noonan Davis




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